Case 2:22-bk-10266-BB          Doc 264 Filed 08/05/22 Entered 08/05/22 13:24:59              Desc
                                Main Document     Page 1 of 6


  1    JOHN-PATRICK M. FRITZ (State Bar No. 245240)
       CARMELA T. PAGAY (State Bar No. 195603)
  2    LEVENE, NEALE, BENDER,
  3    YOO & GOLUBCHIK L.L.P.
       2818 La Cienega Avenue
  4    Los Angeles, California 90034
       Telephone: (310) 229-1234
  5    Facsimile: (310) 229-1244
       Email: JPF@LNBYG.COM; CTP@LNBYG.COM
  6

  7    Attorneys for Chapter 11
       Debtor and Debtor in Possession
  8
                                  UNITED STATES BANKRUPTCY COURT
  9                                CENTRAL DISTRICT OF CALIFORNIA
                                        LOS ANGELES DIVISION
 10
      In re:                                                )   Case No.: 2:22-bk-10266-BB
 11                                                         )   Chapter 11 Case
      ESCADA AMERICA LLC,                                   )
 12                                                             STIPULATION BETWEEN THE
                                                            )
                     Debtor and Debtor in Possession.       )   DEBTOR AND THE OFFICIAL
 13                                                             COMMITTEE OF UNSECURED
                                                            )   CREDITORS REGARDING
 14                                                         )   COMMITTEE’S CURRENT
                                                            )   AND FUTURE REQUESTS
 15                                                         )   FOR INFORMATION FROM THE
                                                            )   DEBTOR
 16

 17            Escada America LLC, a Delaware limited liability company, the debtor and debtor in
 18    possession in the above-captioned chapter 11 case (the “Debtor”), and the Official Committee
 19    of Unsecured Creditors (the “Committee” and together with Debtor, the “Parties”), by and
 20    through their respective undersigned counsel, hereby enter into this stipulation regarding the
 21    Committee’s current and future requests for information from the Debtor (the “Discovery
 22    Stipulation”) as follows:
 23                                               RECITALS
 24             A.      The Debtor commenced its bankruptcy case by filing a voluntary chapter 11
 25    petition on January 18, 2022 (the “Petition Date”).
 26             B.      On May 18, 2022, the Office of the United States Trustee formed the Committee
 27    [ECF 172].
 28

                                                        1
Case 2:22-bk-10266-BB         Doc 264 Filed 08/05/22 Entered 08/05/22 13:24:59                   Desc
                               Main Document     Page 2 of 6


  1            C.       On May 26, 2022, the Committee’s counsel served an informal list of information

  2    requests on the Debtor (the “Initial Requests”).

  3            D.       On June 27, 2022, the Committee and the Debtor entered into the Stipulation to
  4    Extend Deadlines and Scheduling Regarding: (A) Disclosure Statement Describing Debtor’s
  5    Chapter 11 Reorganization Plan, Dated May 12, 2002; (B) Debtor’s Motion for Order: (I)
  6    Authorizing Use of Cash Collateral Pursuant to Section 363 of the Bankruptcy Code; and (II)
  7    Approving Adequate Protection; (C) Committee Information Requests [ECF 237] (the “June 27
  8    Stipulation”).
  9            E.       Pursuant to the June 27 Stipulation, July 1, 2022 was the Debtor’s deadline to
 10    respond to the Initial Requests.
 11            F.       The Debtor did not respond to the Initial Requests by July 1, 2022, and the
 12    Committee alleges that the responses the Debtor has provided to date since July 1, 2022 are
 13    incomplete.
 14            G.       One of the items requested in the Initial Requests is a payment ledger listing all
 15    payments the Debtor has made to or for the benefit of any insider, as that term is defined in
 16    Section 101(a)(31) (the “Payment Ledger”).
 17            H.       The Committee alleges that as of the date of this Discovery Stipulation, the Debtor
 18    has not produced a complete Payment Ledger to the Committee.
 19            I.       On July 20, 2022, the Committee’s counsel served a second informal list of
 20    information requests on the Debtor (the “Second Requests”).
 21            J.       The Committee requires responses to the Initial Requests and the Second Requests
 22    to understand the Debtor, its business, assets and liabilities in order to negotiate a fair, reasonable
 23    and confirmable plan for the Debtor and to otherwise fulfil its statutory mandate.
 24            K.       The Committee alleges that it has not received timely or complete responses to its
 25    informal requests for information from the Debtor and, therefore, requires the procedural
 26    protections of Fed. R. Bankr. P. 2004 (“Rule 2004”) to ensure the Debtor’s compliance.
 27

 28

                                                         2
Case 2:22-bk-10266-BB        Doc 264 Filed 08/05/22 Entered 08/05/22 13:24:59                Desc
                              Main Document     Page 3 of 6


  1            L.      On July 20, 2022, the Committee and the Debtor met and conferred pursuant to

  2    [Local Rule 2004-1] to negotiate procedures to facilitate the Committee’s receipt of information

  3    from the Debtor without the need for formal litigation.

  4            M.      To streamline the exchange of information, which will facilitate ongoing good

  5    faith negotiations between the Debtor and the Committee over the terms of a chapter 11 plan for

  6    the Debtor, the Parties agree that the procedures below shall govern the Initial Requests, the

  7    Second Requests, and all future requests for information the Committee may make to the Debtor

  8    in this case.

  9                                             STIPULATION

 10            1.      The recitals in paragraphs “A” through “M” above are incorporated here as though
 11    set forth in full.
 12            2.      The Initial Requests and the Second Requests shall be deemed requests for the
 13    production of documents ordered under and governed by Rule 2004.
 14            3.      The Debtor shall produce a complete Payment Ledger by 5:00 p.m. (PT) on
 15    August 5, 2022.
 16            4.      The Debtor shall complete its response to the other Initial Requests by August 12,
 17    2022.
 18            5.      The Debtor shall produce documents in response to the Second Requests on a
 19    rolling basis in good faith and complete its response to the Second Requests by August 17, 2022.
 20            6.      The Committee may issue additional requests for information to the Debtor
 21    pursuant to this Discovery Stipulation. Each such request shall be deemed a request for the
 22    production of documents ordered under and governed by Rule 2004. The Committee shall make
 23    its requests to the Debtor in writing, which may be through an email addressed to the Debtor’s
 24    counsel.
 25            7.      If the Debtor objects to any request made by the Committee, including but not
 26    limited to any request in the Initial or Second Requests, it shall notify the Committee of its
 27    specific objection(s) in writing (which may be an email to Committee’s counsel) within ten days
 28

                                                        3
Case 2:22-bk-10266-BB   Doc 264 Filed 08/05/22 Entered 08/05/22 13:24:59   Desc
                         Main Document     Page 4 of 6




                   5
Case 2:22-bk-10266-BB                Doc 264 Filed 08/05/22 Entered 08/05/22 13:24:59                                       Desc
                                      Main Document     Page 5 of 6

  1                                 PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  3   address is: 2818 La Cienega Avenue, Los Angeles, CA 90034.

  4
      A true and correct copy of the foregoing document entitled STIPULATION BETWEEN THE DEBTOR
  5   AND THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS REGARDING COMMITTEE’S
      CURRENT AND FUTURE REQUESTS FOR INFORMATION FROM THE DEBTOR will be served or
  6   was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
      the manner stated below:
  7
  8
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  9   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On August 5, 2022, I checked the CM/ECF docket for this bankruptcy case
 10   or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
      to receive NEF transmission at the email addresses stated below:
 11
 12
 13       x     Dustin P Branch branchd@ballardspahr.com,
                carolod@ballardspahr.com;hubenb@ballardspahr.com
 14       x     John C Cannizzaro john.cannizzaro@icemiller.com, julia.yankula@icemiller.com
          x     Michael J Darlow mdarlow@pbfcm.com, tpope@pbfcm.com
 15       x     Caroline Djang cdjang@buchalter.com, docket@buchalter.com;lverstegen@buchalter.com
          x     Eryk R Escobar eryk.r.escobar@usdoj.gov
 16       x     John-Patrick M Fritz jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com
          x     Jonathan Gottlieb jdg@lnbyg.com
 17       x     William W Huckins whuckins@allenmatkins.com,
                clynch@allenmatkins.com;igold@allenmatkins.com
 18       x     Gregory Kent Jones (TR) gjones@sycr.com,
                smjohnson@sycr.com;C191@ecfcbis.com;cpesis@stradlinglaw.com
 19       x     Michael S Kogan mkogan@koganlawfirm.com
          x     Carmela Pagay ctp@lnbyg.com
 20       x     Kristen N Pate bk@bpretail.com
          x     Terrel Ross tross@trcmllc.com
 21       x     Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
          x     Ronald M Tucker rtucker@simon.com,
 22             cmartin@simon.com;psummers@simon.com;Bankruptcy@simon.com
          x     United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 23       x     Eric R Wilson kdwbankruptcydepartment@kelleydrye.com, MVicinanza@ecf.inforuptcy.com

 24
 25   2. SERVED BY UNITED STATES MAIL: On August 5, 2022, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 26   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 27   completed no later than 24 hours after the document is filed.

 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 2:22-bk-10266-BB                Doc 264 Filed 08/05/22 Entered 08/05/22 13:24:59                                       Desc
                                      Main Document     Page 6 of 6

  1
      Honorable Sheri Bluebond
  2   United States Bankruptcy Court
      Edward R. Roybal Federal Building and Courthouse
  3   255 E. Temple Street, Suite 1534 / Courtroom 1539
      Los Angeles, CA 9001
  4
                                                                              Service information continued on attached page
  5
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
  6   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on August 5, 2022, I served the following persons and/or entities by personal delivery, overnight mail
  7   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
  8
      None.
  9
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
 10   true and correct.
 11    August 5, 2022                    Damon Woo                                       /s/ Damon Woo
       Date                            Type Name                                         Signature
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
